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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL

Case No.     CV 22-822-MWF(PDx)                                            Dated: May 31, 2022

Title:       John Irizawa -v- Shun Li Chang, et al.

PRESENT: HONORABLE MICHAEL W. FITZGERALD, U.S. DISTRICT JUDGE

             Rita Sanchez                                   None Present
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:

             None Present                                  None Present

PROCEEDINGS (IN CHAMBERS) COURT ORDER

      In light of the Notice of Settlement [19] filed May 27, 2022, the Court sets a hearing
on Order To Show Cause Re Dismissal for August 1, 2022 at 11:30 a.m. If a stipulated
dismissal is filed prior to this date, the matter will be taken off calendar and no appearance is
needed. In light of the Notice of Settlement, the Application to Stay Case and Early
Mediation (Docket No. 20) is DENIED without prejudice. All other hearings and deadlines
are hereby vacated.

         IT IS SO ORDERED.




MINUTES FORM 90                                                  Initials of Deputy Clerk    rs
CIVIL ‐ GEN
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